                                                                                     18-021297
                        UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

IN RE:                                                  CASE NUMBER 18-11236

Donna L. Vinson
      aka Donna Lynn Vinson
Jeannie S. Edwards
      aka Jeannie Sue Edwards,
                DEBTOR(S)                               CHAPTER 7


                   MOTION FOR RELIEF FROM AUTOMATIC STAY
                  (RE: 8916 ACACIA LANE, SHREVEPORT, LA 71118)

       NOW INTO COURT, through undersigned counsel, comes Nationstar Mortgage LLC

d/b/a Mr. Cooper ("Mover"), a corporation organized and existing under the laws of the United

States of America, and respectfully represents:

                                                  I.

       Donna L. Vinson and Jeannie S. Edwards filed a petition for relief under Chapter 7 of

Title 11 of the United States Code on August 8, 2018.

                                              II.

       This court has jurisdiction to grant the relief sought herein pursuant to 28 U.S.C. § 1334

and 11 U.S.C. § 362. This is a core proceeding under 28 U.S.C. § 157(b)(2)(G).

                                             III.

       John W. Luster has been appointed as the interim trustee.

                                             IV.

       Mover is the holder of a secured claim against the Debtors totaling the sum of

$140,097.61 (through October 8, 2018), represented by one certain Promissory Note dated

October 15, 2010, in the original principal sum of $163,906.00, payable to the order of




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"Iberiabank Mortgage Company", executed by Donna Lynn Vinson, payable in monthly

installments of principal and interest in the amount of $782.51 per month commencing on

December 1, 2010, and on the first day of each month thereafter, and which note stipulates to

bear interest at the rate of 4.0000% per annum from date until paid. A copy of said note is

annexed hereto and marked as Exhibit "A".

                                             V.

       The promissory note described above is secured by and paraphed "Ne Varietur" for

identification with an Act of Mortgage dated October 15, 2010, passed by act before a Notary

Public, and recorded in the Parish of Caddo, State of Louisiana on October 21, 2010, Intrument

No. 2318875. A copy of said mortgage is annexed hereto as Exhibit "B". Said mortgage affects

the following described property, to-wit:

       LOT 166, BROOKWOOD, UNIT NO. 3, A SUBDIVISION OF THE CITY OF
       SHREVEPORT, CADDO PARISH, LOUISIANA, AS PER PLAT THEREOF
       RECORDED IN CONVEYANCE BOOK 650, PAGE 631, OF THE OFFICIAL
       RECORDS OF CADDO PARISH, LOUISIANA, TOGETHER WITH ALL
       BUILDINGS AND IMPROVEMENTS LOCATED THEREON.

       Which has the address of 8916 Acacia Lane, Shreveport, LA 71118.

                                            VI.

       The principal balance due and owing to Mover is the sum of $138,254.21, together with

unpaid installments due from August 1, 2018 through October 1, 2018 in the sum of $1,174.11

each, together with attorney's fees and costs, all as more fully stipulated in said note and

mortgage.

                                            VII.

       At the time of the filing of the instant Motion, payments to Mover are due from August 1,

2018, and since no other payments have been made, to the knowledge of Mover, the entire




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unpaid principal balance of said mortgage and promissory note is due and owing. Accordingly,

the amount due Mover under said note and mortgage is the sum of $138,254.21, together with

interest at the rate of 4.00% per annum from July 1, 2018 until paid, late charges and attorney's

fees, as well as all costs.

                                             VIII.

        The Debtors’ Statement of Intention indicates the Debtors desire to surrender the

mortgaged property to Mover in satisfaction of the debt owed to Mover. This motion is filed to

give effect to the intentions of the Debtors. The Debtors’ Schedules value the subject property at

$159,000.00. Mover has secured a claim in the instant case totaling $140,097.61 (through

October 8, 2018). Considering same, Mover submits that, although the Trustee has not

disclaimed the property, there is insufficient equity to warrant administration of the subject

property.

                                               IX.

        Attached are redacted copies of any documents that support the claim, such as promissory

notes, purchase order, invoices, itemized statements of running accounts, contracts, judgments,

mortgages, and security agreements in support of right to seek a lift of the automatic stay and

foreclose if necessary. Mover avers that it does not have and has not been offered adequate

protection for its interest in said property, and that Mover will suffer irreparable injury, loss and

damage unless the automatic stay is modified to permit Mover to foreclose its security interest in

the above-described property. Mover also avers that this Court should find Rule 4001(a)(3)

inapplicable and said Order rendered herein should have immediate effect allowing Mover to

immediately implement and enforce the Order granted herein.




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       WHEREFORE, MOVER PRAYS that the automatic stay under 11 U.S.C. § 362 be

modified and annulled as to Nationstar Mortgage LLC d/b/a Mr. Cooper to permit Nationstar

Mortgage LLC d/b/a Mr. Cooper to pursue its security interest on the above described property

and to immediately proceed with a foreclosure proceeding on its security interest bearing against

said property and for all other relief as is just and proper in the premises.



                                               Respectfully submitted,

                                               SHAPIRO & DAIGREPONT, L.L.C.


                                               BY:     /s/Remy F. Symons
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